Case 2:08-mj-00036-DUTY Document 2 Filed 01/10/08 Page1of1i Page ID#:2

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UNITED STATES DISTRICT COURT _ 2v. LQ
CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, CASE NUMB ry
PLAINTIFF :

. OMe gs 1.

REPORT COMMENCING CRIMINAL

STEVErt FAY 177 Aes aH ACTION

DEFENDANT(S).

   

 

 

 

TO: CLERK’S OFFICE, U. S. DISTRICT COURT

All items are to be completed. Infprmation not applicable or unknown will be indicated as “N/A”.
1. Date and time of arrest_ 7/7 G/7Z &, COD ro 1 AM elem

2. Charges under which defendant has been booked at ee ee Center (MDC):
lil3bab - Fe B27Ter yet

Offense charged is a:)AFelony C] Minor Offense 1 Petty Offense © 11 Other Misdemeanor
USS. Citizen: yes O1No © Unknown

Year of Birth: | S O

The defendant is: (p Presenty in custody on this charge.
At liberty on bond posted before a Magistrate Judge.
DX At liberty and warrant is requested.
XO Federal - In custody on another conviction.
C1 State - In custody awaiting Se charges.

7. Place of detention (if out-of-district): LY Ah
8. Date detainer placed on defendant: Af a ae

nv» Y&

9. This is a reprosecution of previously dismissed charges. (Docket/Case No. )

10. Name of Pretrial Services Officer: Le [x 24 EWE Lo
11. Remarks (if any):

, eS Z J
12. Date: al p0f2008 13. Signature: | 2S Sat
14. Name: _DLING L Lords U 15. Title: Z . _

CR-64 (07/05) REPORT COMMENCING CRIMINAL ACTION

 

 

 

 
